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                  CERTIFICATE OF CORPORATE RESOLUTION OF

                                   YONG LEE INC.
       The undersigned, President of YONG LEE INC. (the “President”), a New York
corporation (the "Company"), hereby certifies as follows:

1.    The following resolution was duly and unanimously adopted by a majority of the
      directors of the Company at a meeting duly called and held on JUNE 7, 2019 , at which
      a quorum of the directors was present and acting throughout the meeting, and said
      resolutions have not been amended and are in full force and effect:

             RESOLVED, that it is in the best judgment of the Board Of Directors that the
             Company commence a voluntary chapter 11 proceeding for reorganize its business
             and economic affairs. It is further

             RESOLVED, that the Company is authorized to open a debtor in possession bank
             account and take all other steps necessary to ensure that it fully complies with
             applicable state and federal in connection with its bankruptcy case. It is further

             RESOLVED, that the Company is authorized to retain Ortiz & Ortiz LLP as its
             bankruptcy counsel, and retain any other professionals necessary to prosecute its
             bankruptcy case.

2.    Appearing below are the names of the persons authorized by the foregoing resolution to
      act on behalf of the Company, and appearing opposite their names are their positions and
      specimens of their true and correct signatures:

      Name                         Position        Signature

      Jing Yang                    President        /s/Jing Yang

      Cristobal Bonilla            Treasurer        /s/Jing Yang

      Cristobal Bonilla            Secretary        /s/Jing Yang


       IN WITNESS WHEREOF, I have executed this certificate on the 7th day of June, 2019. I
swear that the foregoing is accurate and true.

                                                           /s/Jing Yang
                                                          Secretary/President
